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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10   LARRY MCCUE,               )                       Civil No. 15cv2391 JAH (BLM)
                                )
11                Plaintiff,    )                       ORDER GRANTING JOINT
     v.                         )                       MOTION TO DISMISS [Doc. No. 6]
12                              )
     MIDLAND CREDIT MANAGEMENT, )
13   INC.,                      )
                                )
14                Defendant.    )
                                )
15
16         The parties’ jointly move to dismiss the entire action with prejudice pursuant to
17   Federal Rule of Civil Procedure 41(a). Accordingly, IT IS HEREBY ORDERED the joint
18   motion is GRANTED and the action is DISMISSED with prejudice in its entirety. Each
19   party to bear its own attorneys’ fees and costs.
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21   Dated:       February 5, 2016
22
                                                        JOHN A. HOUSTON
23                                                      United States District Judge
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